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UNITED STATES JUDICIAL PANEL
on
MULTIDISTRICT LITIGATION

IN RE: GRANULATED SUGAR
ANTITRUST LITIGATION MDL No. 3110

TRANSFER ORDER

Before the Panel:* Plaintiffs in two actions pending in the Southern District of New York
move under 28 U.S.C. § 1407 to centralize this litigation in that district. This litigation consists of
five actions pending in two districts, as listed on Schedule A. In addition, the parties have informed
the Panel of 40 related actions pending in eight districts.!

All responding parties either support or do not oppose centralization. They differ, however,
as to the proposed transferee forum. Plaintiffs in the third action on the motion pending in the
Southern District of New York (Fowler) support centralization in that district. Plaintiff in a
potential tag-along action pending in the Southern District of New York suggests centralization
either in that district or the Eastern District of New York. Plaintiffs in the two actions on the
motion pending in the District of Minnesota, as well as plaintiffs in nine potential tag-along actions
pending in that district, propose instead centralization in the District of Minnesota. Plaintiffs in
two potential tag-along actions pending in the Southern District of Florida suggest centralization
in that district.

Defendants ASR Group International, Inc., American Sugar Refining, Inc., and Domino
Foods, Inc., United Sugar Producers & Refiners Cooperative, and Michigan Sugar Company
support centralization in the District of Delaware. Defendant Cargill, Inc., takes no position on
centralization. It suggests either the District of Minnesota or the District of Delaware as the
transferee district.”

On the basis of the papers filed and the hearing session held, we find that the actions listed
on Schedule A involve common questions of fact, and that centralization in the District of

* One or more Panel members who could be members of the putative classes in this litigation have
renounced their participation in these classes and have participated in this decision.

! These and any other related actions are potential tag-along actions. See Panel Rules 1.1(h), 7.1,
and 7.2.

Cargill initially opposed centralization in its briefing but changed its position prior to oral
argument.
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Minnesota will serve the convenience of the parties and witnesses and promote the just and
efficient conduct of this litigation. These actions share factual questions arising from allegations
that defendants conspired to artificially increase the price of refined sugar by sharing competitively
sensitive and nonpublic information regarding their refined sugar prices, capacity, and sales
through co-defendants Richard Wistisen and his company, Commodity Information, Inc. The
complaints are substantially similar and, save for Cargill, Inc., name the same defendants. Further,
the actions are brought on behalf of overlapping putative nationwide and multistate classes of
direct and indirect purchasers of granulated sugar. Centralization will eliminate duplicative
discovery; prevent inconsistent pretrial rulings, particularly as to class certification; and conserve
the resources of the parties, their counsel, and the judiciary.

The District of Minnesota is an appropriate transferee district for this litigation. Nearly
thirty of 45 related actions in this docket are pending in the District of Minnesota. Numerous
plaintiffs and one defendant (in the alternative) suggest centralization in this district, which
presents a convenient and accessible venue for this nationwide litigation. The District of
Minnesota also has the resources to efficiently manage this litigation. We assign this action to
Judge Jerry W. Blackwell, who we are confident will steer this litigation on a prudent and
expeditious course.

IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the District of Minnesota are transferred to the District of Minnesota and, with the consent of that
court, assigned to the Honorable Jerry W. Blackwell for coordinated or consolidated pretrial
proceedings.

PANEL ON MULTIDISTRICT LITIGATION

Hassan Cateuel
Karen K. Caldwell
Chair

Nathaniel M. Gorton Matthew F. Kennelly
David C. Norton Roger T. Benitez
Dale A. Kimball Madeline Cox Arleo
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IN RE: GRANULATED SUGAR
ANTITRUST LITIGATION MDL No. 3110

SCHEDULE A

District of Minnesota

WNT, LLC, ET AL. v. UNITED SUGAR PRODUCERS & REFINERS
COOPERATIVE, ET AL., C.A. No. 0:24-00959

MORELOS BAKERY LLC v. UNITED SUGAR PRODUCERS & REFINERS
COOPERATIVE, ET AL., C.A. No. 0:24-00966

Southern District of New York

KPH HEALTHCARE SERVICES, INC. v. ASR GROUP INTERNATIONAL, INC.,
ET AL., C.A. No. 1:24-01941

REDNER’S MARKET, INC. v. ASR GROUP INTERNATIONAL, INC., ET AL.,
C.A. No. 1:24-01968

FOWLER, ET AL. v. ASR GROUP INTERNATIONAL, INC., ET AL.,
C.A. No. 1:24-01972
